     Case 19-20172-JAD         Doc 45   Filed 02/03/22 Entered 02/03/22 14:46:40   Desc Main
                                        Document Page 1 of 2
                               UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF PENNSYLVANIA

IN RE:
   RYAN P. MACKIN
                                                      Case No. 19-20172JAD

               Debtor(s)                              Chapter 13

   Ronda J. Winnecour                                 Document No.___

               Movant
         vs.

   PNC BANK NA

               Respondent(s)

                  NOTICE THAT MORTGAGE CLAIM HAS BEEN PAID IN FULL

   Chapter 13 Trustee Ronda J. Winnecour hereby gives notice to the holders of claims
secured by a security interest in the debtor’s principal residence, i.e., the Respondents
named above, that the claim has been paid in full. The Trustee will not make any further
payments to the creditor for taxes, insurance, or other escrow items. Going forward the
debtor(s) shall pay property taxes and insurance premiums directly.

   The holders of a claim secured by a security interest in the debtor’s principal residence
are requested to notify the debtor, debtor’s counsel and the Trustee if the creditor does not
agree that the debtor has paid in full, with applicable interest, the amount required to pay
the claim in full. The statement should itemize the required cure, if any, that the holder
contends remain unpaid as of the date of this statement.

Trustee Record Number - 6
Court Claim Number - 32-2




                                                   /s/ Ronda J. Winnecour
   2/3/2022                                        Pa. ID #30399
                                                   CHAPTER 13 TRUSTEE WD PA
                                                   600 GRANT STREET
                                                   SUITE 3250 US STEEL TWR
                                                   PITTSBURGH, PA 15219
                                                   (412) 471-5566
                                                   cmecf@chapter13trusteewdpa.com
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                               UNITED STATES BANKRUPTCY COURT
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IN RE:
   RYAN P. MACKIN
                                                      Case No.19-20172JAD
               Debtor(s)
                                                      Chapter 13
   Ronda J. Winnecour
                                                      Document No.___
               Movant
         vs.

   PNC BANK NA

               Respondent(s)
                                 CERTIFICATE OF SERVICE

      I hereby certify that on the date shown below, I served a true and correct copy
of NOTICE THAT MORTGAGE CLAIM HAS BEEN PAID IN FULL upon the following, by
regular United States mail, postage prepaid, addressed as follows:
 RYAN P. MACKIN, 113 LINNVIEW AVE, PITTSBURGH, PA 15210
 MICHAEL C EISEN ESQ, M EISEN AND ASSOCIATES PC, 404 MCKNIGHT PARK DR,
 PITTSBURGH, PA 15237
 PNC BANK NA, POB 94982, CLEVELAND, OH 44101
 KML LAW GROUP PC*, 701 MARKET ST STE 5000, PHILADELPHIA, PA 19106




02/03/2022                                         /s/ Roberta Saunier

                                                   Administrative Assistant
                                                   Office of the Chapter 13 Trustee
                                                   CHAPTER 13 TRUSTEE WD PA
                                                   600 GRANT STREET
                                                   SUITE 3250 US STEEL TWR
                                                   PITTSBURGH, PA 15219
                                                   (412) 471-5566
                                                   cmecf@chapter13trusteewdpa.com
